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                           Exhibit 1
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April 9, 2020

Federal Bureau of Investigation
Attn: FOI/PA Request
Record/Information Dissemination Section
170 Marcel Drive
Winchester, VA 22602-4843
Fax: (540) 868-4391/4997

       Re: Freedom of Information Act Request

To Whom It May Concern:

         On March 20, 2020, former Asst. U.S. Attorney Deborah Sines was deposed in Ed
Butowsky v. David Folkenflik, et al., Case No. 4:18-cv-00442-ALM (E.D.Tex.) about matters
pertaining to Seth Conrad Rich (“Seth Rich”) and his brother, Aaron Nathan Rich (“Aaron
Rich”). A copy of the deposition transcript can be found at https://tinyurl.com/v7xvms7 or
http://lawflog.com/wp-content/uploads/2020/04/2020.03.20-Deborah-Sines-deposition-
transcript.pdf. Seth Rich was a Democratic National Committee employee who was murdered on
or about July 10, 2016 in Washington, D.C.
         According to Ms. Sines’s testimony, the FBI conducted an investigation into possible
hacking attempts on Seth Rich’s electronic accounts following his murder. Ms. Sines also
testified that the FBI examined Seth Rich’s laptop computer as part of its investigation, and that
there should be emails between her and FBI personnel. Finally, she testified that she met with a
prosecutor and an FBI agent assigned to Special Counsel Robert Mueller.
         Ms. Sines’s testimony conflicts with the affidavit testimony of David M. Hardy, who
claimed that the FBI conducted a reasonable search and could not find any records pertaining to
Seth Rich. See October 3, 2018 Affidavit of David M. Hardy (http://lawflog.com/wp-
content/uploads/2020/01/Hardy-Declaration.pdf) and July 29, 2019 Affidavit of David M. Hardy
(http://lawflog.com/wp-content/uploads/2020/01/Second-Hardy-Declaration.pdf). Mr. Hardy’s
affidavits were also contradicted by email records that Judicial Watch obtained in Judicial
Watch, Inc. v. U.S. Department of Justice, Case No. 1:18-cv-00154-RBW (D.D.C.). See August
10, 2016 email string (https://tinyurl.com/wylcu9l or http://lawflog.com/wp-
content/uploads/2020/04/FBI-emails-re-Seth-Rich.pdf). Clearly, the FBI is in possession of
email records pertaining to Seth Rich.
       As permitted by the Freedom of Information Act, 5 U.S.C. § 552, I request the
opportunity to view the following:
   1. All data, documents, records, or communications (electronic or otherwise) created or
      obtained since January 1, 2016 that discuss or reference Seth Rich or Aaron Rich. This
      would include, but is not limited to, all data, documents, records, or communications in the
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    Washington Field Office, Computer Analysis Response Team (“CART”), and any other
    “cyber” unit within the FBI.

 2. All data, documents, records, or communications regarding any person or entity’s attempt
    to hack into Seth Rich’s electronic or internet accounts (e.g., email) after his death.

 3. All data downloaded from all electronic devices that belonged to Seth Rich as well as all
    data, documents, records or communications indicating how the devices were obtained and
    who was responsible for downloading the information.

 4. All data, documents, communications, records or other evidence indicating whether Seth
    Rich, Aaron Rich, or any other person or persons were involved in transferring data from
    the Democratic National Committee to Wikileaks in 2016, either directly or through
    intermediaries. This request includes, but is not limited to, any reports from CrowdStrike,
    Inc. that were obtained by the FBI while assisting Special Counsel Robert Mueller’s
    investigation.

 5. All documents, communications, records or other evidence reflecting orders or directions
    (whether formal or informal) for the handling of any evidence pertaining to Seth Rich's or
    Aaron Rich's involvement in transferring data from the Democratic National Committee to
    Wikileaks.

 6. All documents, records, or communications exchanged with any other government
    agencies (or representatives of such agencies) since January 1, 2016 regarding (1) Seth
    Rich's murder or (2) Seth Rich's or Aaron Rich's involvement in transferring data from the
    Democratic National Committee to Wikileaks.

 7. All recordings, transcripts, or notes (e.g., FD-302 forms) reflecting any interviews of Aaron
    Rich, Deborah Sines or any other witness regarding (1) the death of Seth Rich, (2) the
    transfer of data from the Democratic National Committee to Wikileaks, or (3) any attempt
    to hack into electronic or internet accounts (e.g., email) belonging to Seth Rich.

 8. All data, documents, records or communications obtained or produced by the FBI's
    Computer Analysis and Response Team (“CART”) or any other FBI cyber unit regarding
    Seth Rich and/or Aaron Rich.

 9. All data, documents, records or communications (including texts or emails) that reflect any
    meetings or communications from July 10, 2016 until July 10, 2017 between former FBI
    Deputy Director Andrew McCabe and any and all of the following: (1) Seymour Myron
    "Sy" Hersh (born on or about April 8, 1937); (2) Washington, D.C. Mayor Muriel Bowser;
    and/or (3) former Democratic National Committee Interim Chairwoman Donna Brazile.

 10. If any of the items or things requested in this subpoena were discarded or destroyed,
     produce all data, documents, records or communications reflecting that fact.
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If copying costs will be more than $100, please let me know in advance. Thank you in advance
for your assistance.


       Sincerely,




       Brian Huddleston
       704 Nickelville Lane
       Wylie, Texas 75098
       brianhudd@gmail.com
